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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                             )
                                                     )      No. 2:18-cr-12-JAW
     v.                                              )      No. 2:18-cr-173-JAW
                                                     )
DEMONE COLEMAN                                       )

                          MOTION TO EXTEND DEADLINE FOR
                         DISCLOSURE OF PRESENTECE REPORT

       The United States of America, by and through its undersigned counsel, hereby moves for

an extension until March 1, 2019, for disclosure of the initial presentence report. The Government

recently provided supplemental discovery materials to produce to the Probation Office. The

Probation Office needs additional time to review all discovery and to issue the presentence report.

Counsel for the defendant advised that he has no objection to this motion.

       WHEREFORE, the United States respectfully requests an extension until March 1, 2019,

for disclosure of the presentence report.

Date: February 15, 2019


                                                     Respectfully submitted,

                                                     Halsey B. Frank
                                                     United States Attorney

                                                     /s/David B. Joyce
                                                     Assistant U.S. Attorney
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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

                               CERTIFICATE OF SERVICE

     I hereby certify that on February 15, 2019, I filed the foregoing motion using the Court’s
CM/ECF system, which will cause a copy to be sent to all counsel of record.



                                                   Halsey B. Frank
                                                   United States Attorney

                                                   /s/David B. Joyce
                                                   Assistant United States Attorney
